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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

AMERICAN ATHEISTS, INC.;
BETTY JO FERNAU;
CATHERINE SHOSHONE;
ROBERT BARRINGER; and
KAREN DEMPSEY                                                                      PLAINTIFFS

v.                                  Case No. 4:19-cv-00017-KGB

STANLEY JASON RAPERT, in his
individual and official capacity                                                   DEFENDANT

                                               ORDER

        Before the Court is defendant Stanley Jason Rapert’s unopposed motion to extend

deadlines set in the Court’s July 26, 2022, Order (Dkt. No. 82). Mr. Rapert submitted this motion

through his official capacity counsel – Assistant Attorney General Brittany Edwards (Id., at 2). In

the motion, Mr. Rapert requests a 10-day extension of all deadlines set forth in the Court’s July

26, 2022, Order (Id., at 1–2). Mr. Rapert represents that plaintiffs American Atheists, Inc., Betty

Jo Fernau, Catherine Shoshone, Robert Barringer, and Karen Dempsey (collectively “plaintiffs”)

do not object to this extension (Id., at 2).

        For good cause shown, the Court grants the motion and extends by 10 days all pretrial

deadlines set forth in the Third Amended Final Scheduling Order (Dkt. No. 82). The Court

declines at this time to extend the October 3, 2022, trial date, although the Court has under

advisement the pending motion to continue the trial date filed by one of the attorneys who

represents Mr. Rapert in his individual capacity – John Paul Byrd (Dkt. No. 81).

        In accordance with this Order and the Court’s July 26, 2022, Order granting plaintiffs’

motion to compel, Mr. Rapert shall have until August 12, 2022, to submit a protective order request

and must respond to plaintiffs’ discovery requests by August 15, 2022 (see generally Dkt. No. 78,
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at 2–3). Trial will remain scheduled for October 3, 2022. The Court will issue a new amended

scheduling order with other relevant pretrial deadlines.

       It is so ordered this 2nd day of August, 2022.




                                                     Kristine G. Baker
                                                     United States District Judge




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